                   Case 18-10601-MFW   Doc 2   Filed 03/19/18   Page 1 of 32



                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                   x
In re:
                                   :
THE WEINSTEIN COMPANY HOLDINGS LLC :               Chapter 11
                                   :
                                   :               Case No. 18-_____ ( )
                  Debtor.
                                   :
                                   :
Tax I.D. No. XX-XXXXXXX
                                   :
                                   x
                                   x
In re:
                                   :
                                   :               Chapter 11
AVENGING EAGLE SPV, LLC,
                                   :
                                   :               Case No. 18-_____ ( )
                  Debtor.
                                   :
                                   :
Tax I.D. No. XX-XXXXXXX
                                   :
                                   x
                                   x
In re:
                                   :
                                   :               Chapter 11
BRANDED PARTNERS LLC,
                                   :
                                   :               Case No. 18-_____ ( )
                  Debtor.
                                   :
                                   :
Tax I.D. No. XX-XXXXXXX
                                   :
                                   x
                                   x
In re:
                                   :
                                   :               Chapter 11
CHECK HOOK LLC,
                                   :
                                   :               Case No. 18-_____ ( )
                  Debtor.
                                   :
                                   :
Tax I.D. No. XX-XXXXXXX
                                   :
                                   x




RLF1 18980807v.2
                   Case 18-10601-MFW   Doc 2       Filed 03/19/18    Page 2 of 32



                                                    x
In re:
                                                    :
                                                    :   Chapter 11
CTHD 2 LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
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In re:
                                                    :
                                                    :   Chapter 11
CUES TWC (ASCAP), LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x
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In re:
                                                    :
                                                    :   Chapter 11
CURRENT WAR SPV, LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x
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In re:
                                                    :
                                                    :   Chapter 11
DRT FILMS, LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
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In re:
                                                    :
                                                    :   Chapter 11
DRT RIGHTS MANAGEMENT LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
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RLF1 18980807v.2
                   Case 18-10601-MFW   Doc 2       Filed 03/19/18    Page 3 of 32



                                                    x
In re:
                                                    :
FFPAD, LLC,                                         :   Chapter 11
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
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In re:
                                                    :
                                                    :   Chapter 11
HRK FILMS, LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x
                                                    x
In re:
                                                    :
                                                    :   Chapter 11
INDIRECTIONS LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x
                                                    x
In re:
                                                    :
                                                    :   Chapter 11
INTELIPARTNERS LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x
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In re:
                                                    :
                                                    :   Chapter 11
ISED, LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
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RLF1 18980807v.2
                   Case 18-10601-MFW   Doc 2       Filed 03/19/18    Page 4 of 32



                                                    x
In re:
                                                    :
MARCOTWO, LLC,                                      :   Chapter 11
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x
                                                    x
In re:
                                                    :
                                                    :   Chapter 11
ONE CHANCE LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x
                                                    x
In re:
                                                    :
                                                    :   Chapter 11
PA ENTITY 2017, LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x
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In re:
                                                    :
                                                    :   Chapter 11
PADDINGTON 2, LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x
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In re:
                                                    :
                                                    :   Chapter 11
PS POST LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x


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RLF1 18980807v.2
                   Case 18-10601-MFW   Doc 2       Filed 03/19/18    Page 5 of 32



                                                    x
In re:
                                                    :
                                                    :   Chapter 11
SCREAM 2 TC BORROWER, LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x
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In re:
                                                    :
                                                    :   Chapter 11
SMALL SCREEN PRODUCTIONS LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x
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In re:
                                                    :
                                                    :   Chapter 11
SMALL SCREEN TRADES LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x
                                                    x
In re:
                                                    :
                                                    :   Chapter 11
SPY KIDS TV BORROWER, LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x
                                                    x
In re:
                                                    :
                                                    :   Chapter 11
TEAM PLAYERS LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x


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RLF1 18980807v.2
                   Case 18-10601-MFW   Doc 2       Filed 03/19/18    Page 6 of 32



                                                    x
In re:
                                                    :
THE ACTORS GROUP LLC,                               :   Chapter 11
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x
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In re:
                                                    :
                                                    :   Chapter 11
THE GIVER SPV, LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x
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In re:
                                                    :
                                                    :   Chapter 11
THE WEINSTEIN COMPANY LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x
                                                    x
In re:
                                                    :
                                                    :   Chapter 11
TULIP FEVER LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x
                                                    x
In re:
                                                    :
                                                    :   Chapter 11
TWC BORROWER 2016, LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
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RLF1 18980807v.2
                   Case 18-10601-MFW   Doc 2       Filed 03/19/18    Page 7 of 32



                                                    x
In re:
                                                    :
TWC DOMESTIC LLC,                                   :   Chapter 11
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x
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In re:
                                                    :
                                                    :   Chapter 11
TWC FEARLESS BORROWER, LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
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In re:
                                                    :
                                                    :   Chapter 11
TWC LIBRARY SONGS (BMI), LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x
                                                    x
In re:
                                                    :
                                                    :   Chapter 11
TWC LOOP LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x
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In re:
                                                    :
                                                    :   Chapter 11
TWC MIST, LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
    Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x


                                               7
RLF1 18980807v.2
                   Case 18-10601-MFW   Doc 2       Filed 03/19/18    Page 8 of 32



                                                    x
In re:
                                                    :
                                                    :   Chapter 11
TWC POLAROID SPV, LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x
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In re:
                                                    :
                                                    :   Chapter 11
TWC PRODUCTION-ACQUISITION
                                                    :
BORROWER 2016, LLC,
                                                    :   Case No. 18-_____ ( )
                      Debtor.                       :
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    x
                                                    x
In re:
                                                    :
                                                    :   Chapter 11
TWC PRODUCTION, LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x
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In re:
                                                    :
                                                    :   Chapter 11
TWC REPLENISH BORROWER, LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x
                                                    x
In re:
                                                    :
                                                    :   Chapter 11
TWC SHORT FILMS, LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x


                                               8
RLF1 18980807v.2
                   Case 18-10601-MFW   Doc 2       Filed 03/19/18    Page 9 of 32



                                                    x
In re:
                                                    :
TWC UNTOUCHABLE SPV, LLC,                           :   Chapter 11
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x
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In re:
                                                    :
                                                    :   Chapter 11
TWC WACO SPV, LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x
                                                    x
In re:
                                                    :
                                                    :   Chapter 11
TWENTY O FIVE HOLDINGS, LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x
                                                    x
In re:
                                                    :
                                                    :   Chapter 11
W ACQUISITION COMPANY LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x
                                                    x
In re:
                                                    :
                                                    :   Chapter 11
WC FILM COMPLETIONS, LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x


                                               9
RLF1 18980807v.2
                   Case 18-10601-MFW   Doc 2    Filed 03/19/18       Page 10 of 32



                                                    x
In re:
                                                    :
WEINSTEIN BOOKS, LLC,                               :   Chapter 11
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x
                                                    x
In re:
                                                    :
                                                    :   Chapter 11
WEINSTEIN DEVELOPMENT LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x
                                                    x
In re:
                                                    :
                                                    :   Chapter 11
WEINSTEIN GLOBAL FUNDING CORP.,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x
                                                    x
In re:
                                                    :
                                                    :   Chapter 11
WEINSTEIN GLOBAL FILM CORP.,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x
                                                    x
In re:
                                                    :
                                                    :   Chapter 11
WEINSTEIN PRODUCTIONS LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x


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RLF1 18980807v.2
                   Case 18-10601-MFW   Doc 2    Filed 03/19/18       Page 11 of 32



                                                    x
In re:
                                                    :
WEINSTEIN TELEVISION LLC,                           :   Chapter 11
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x
                                                    x
In re:
                                                    :
                                                    :   Chapter 11
WTV GUANTANAMO SPV, LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
No Tax I.D. No.
                                                    :
                                                    x
                                                    x
In re:
                                                    :
                                                    :   Chapter 11
WTV JCP BORROWER 2017, LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x
                                                    x
In re:
                                                    :
                                                    :   Chapter 11
WTV KALIEF BROWDER BORROWER, LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x
                                                    x
In re:
                                                    :
                                                    :   Chapter 11
WTV SCREAM 3 SPV, LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x


                                               11
RLF1 18980807v.2
                   Case 18-10601-MFW              Doc 2      Filed 03/19/18        Page 12 of 32



                                                                x
In re:
                                                                :
WTV YELLOWSTONE SPV, LLC,                                       : Chapter 11
                                                                :
                                                                : Case No. 18-_____ ( )
                         Debtor.
                                                                :
                                                                :
Tax I.D. No. XX-XXXXXXX
                                                                :
                                                                x

                     DEBTORS’ MOTION FOR ENTRY OF AN ORDER
                DIRECTING JOINT ADMINISTRATION OF CHAPTER 11 CASES

                    The Weinstein Company Holdings LLC (“TWCH”) and its affiliated debtors and

debtors in possession (collectively, the “Debtors” or the “Company”) respectfully request entry

of an order directing joint administration of their chapter 11 cases for procedural purposes only

and granting related relief. In support of this Motion, the Debtors rely on and incorporate by

reference the Declaration of Robert Del Genio in Support of First Day Relief (the “First Day

Declaration”), filed concurrently with this Motion.1 In further support of the Motion, the

Debtors, by and through their undersigned counsel, respectfully represent:

                                        JURISDICTION AND VENUE

                    1.       The Court has jurisdiction to consider this matter pursuant to 28 U.S.C.

§§ 157 and 1334, and the Amended Standing Order of Reference from the United States District

Court for the District of Delaware, dated February 29, 2012. This is a core proceeding pursuant

to 28 U.S.C. § 157(b) and, pursuant to Rule 9013-1(f) of the Local Rules of Bankruptcy Practice

and Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local

Rules”), the Debtors consent to the entry of a final order by the Court in connection with this

matter to the extent that it is later determined that the Court, absent consent of the parties, cannot




1
    Capitalized terms not otherwise defined in this Motion have the meanings used in the First Day Declaration.
                                                          12
RLF1 18980807v.2
                   Case 18-10601-MFW      Doc 2    Filed 03/19/18      Page 13 of 32



enter final orders or judgments consistent with Article III of the United States Constitution.

Venue is proper before the Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                         BACKGROUND

                   2.    On March 19, 2018 (the “Petition Date”), each of the Debtors filed a

voluntary petition with this Court for relief under chapter 11 of the Bankruptcy Code, 11 U.S.C.

§ 1101 et seq. The Debtors continue to manage and operate their businesses as debtors in

possession under Bankruptcy Code sections 1107 and 1108.              As of this date, no trustee,

examiner, or statutory committee of creditors has been appointed in these chapter 11 cases.

                   3.     Founded in 2005 by Robert and Harvey Weinstein, the Company is a

“mini-major” film and television production studio that creates, produces, and distributes feature

films and premium television content for the U.S. and international markets. The Company’s

assets consist primarily of intellectual property, distribution rights, and cash flows related to its

film library, television productions, and portfolio of unreleased films.         The Company has

produced numerous critically acclaimed and commercially successful films, receiving 23

Academy Awards, including Academy Awards for Best Picture for The Artist and The King’s

Speech, and 113 Academy Award nominations.

                   4.    Additional information on the Debtors’ business and capital structure, as

well as a description of the events precipitating the filing of these cases, is set forth in the First

Day Declaration.

                                      RELIEF REQUESTED

                   5.    By this Motion, pursuant to Rule 1015(b) of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”) and Local Rule 1015-1, the Debtors request

entry of an order, substantially in the form attached hereto as Exhibit A (the “Proposed Order”),

directing procedural consolidation and joint administration of these chapter 11 cases.
                                               13
RLF1 18980807v.2
                   Case 18-10601-MFW        Doc 2     Filed 03/19/18    Page 14 of 32



                                 BASIS FOR RELIEF REQUESTED

                   6.     Federal Rule of Bankruptcy Procedure 1015(b) provides, in relevant part,

that “[i]f . . . two or more petitions are pending in the same court by or against . . . a debtor and

an affiliate, the court may order a joint administration of the estates.” Fed. R. Bankr. P. 1015(b).

The Debtors are “affiliates” of each other as that term is defined in Bankruptcy Code section

101(2), as The Weinstein Company Holdings LLC directly or indirectly owns 100% of its

subsidiary Debtors. 11 U.S.C. § 101(2). Therefore, this Court is authorized to consolidate the

Debtors’ chapter 11 cases for procedural purposes.

                   7.     In addition, Local Rule 1015-1 provides additional authority for the Court

to order joint administration of these chapter 11 cases:

                   An order of joint administration may be entered, without notice and an
                   opportunity for hearing, upon the filing of a motion for joint
                   administration pursuant to Fed. R. Bankr. P. 1015, supported by an
                   affidavit, declaration, or verification, which establishes that the joint
                   administration of two or more cases pending in the Court under title 11
                   is warranted and will ease the administrative burden for the Court and
                   the parties. An order of joint administration entered in accordance with
                   this Local Rule may be reconsidered upon motion of any party in
                   interest at any time. An order of joint administration under this Local
                   Rule is for procedural purposes only and shall not cause a “substantive”
                   consolidation of the respective debtors’ estates.

Del. Bankr. L.R. 1015-1.

                   8.     Joint administration of the Debtors’ cases is warranted because it will ease

the administrative burden on the Court and the parties. Joint administration of the Debtors’ cases

will eliminate the need for duplicate pleadings, notices, and orders in each of the respective

dockets and will save the Court, the Debtors, and other parties in interest substantial time and

expense when preparing and filing such documents. Further, joint administration will protect

parties in interest by ensuring that they will be apprised of the various motions filed with the


                                                    14
RLF1 18980807v.2
                   Case 18-10601-MFW        Doc 2     Filed 03/19/18       Page 15 of 32



Court with respect to each of the Debtors’ cases. Therefore, joint administration of the Debtors’

chapter 11 cases is appropriate under Bankruptcy Rule 1015(b) and Local Rule 1015-1.

                   9.     Moreover, joint administration will not adversely affect the Debtors’

respective creditor constituencies because this Motion seeks only administrative, not substantive,

consolidation of the Debtors’ estates. As such, each creditor will continue to hold its claim

against a particular Debtor’s estate after this Motion is approved.

                   10.    In addition, the Debtors request that the caption of their chapter 11 cases

in all pleadings and notices in the jointly administered cases be as follows:

                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

---------------------------------------------------------------x
In re:                                                         :
                                                               : Chapter 11
THE WEINSTEIN COMPANY HOLDINGS                                 :
LLC, et al.,                                                   : Case No. 18-_____ ( )
                                                               :
                       Debtors.[Fn]                            : (Jointly Administered)
                                                               :
-------------------------------------------------------------- x

                   11.    The Debtors also propose to include the following footnote to each

pleading filed and notice mailed by the Debtors, listing the last four digits of TWCH’s tax

identification number, along with its mailing address, and directing parties in interest to the

website of the Debtors’ claims and noticing agent where the last four digits of the remaining

Debtors’ tax identification numbers can be located:

                   The last four digits of The Weinstein Company Holdings LLC’s
                   federal tax identification number are (3837). The mailing address for
                   The Weinstein Company Holdings LLC is 99 Hudson Street, 4th
                   Floor, New York, New York 10013. Due to the large number of
                   debtors in these cases, which are being jointly administered for
                   procedural purposes only, a complete list of the Debtors and the last
                   four digits of their federal tax identification numbers is not provided
                                                    15
RLF1 18980807v.2
                   Case 18-10601-MFW        Doc 2    Filed 03/19/18     Page 16 of 32



                   herein. A complete list of this information may be obtained on the
                   website of the Debtors’ claims and noticing agent at
                   http://dm.epiq11.com/twc.

                   12.    The Debtors also request that the Court make separate docket entries in

each of the Debtors’ chapter 11 cases (except that of The Weinstein Company Holdings LLC),

substantially similar to the following:

                   An order has been entered in this case consolidating this case with the
                   case of The Weinstein Company Holdings LLC (Case No. 18-_____
                   (___)) for procedural purposes only and providing for its joint
                   administration in accordance with the terms thereof. The docket in
                   Case No. 18-_____ (___) should be consulted for all matters affecting
                   this case.

                                                NOTICE

                   13.    The Debtors will provide notice of this Motion to: (i) the Office of the

United States Trustee for the District of Delaware; (ii) the holders of the 30 largest unsecured

claims against the Debtors on a consolidated basis; (iii) counsel to the DIP Agent and the Pre-

Petition Agent; (iv) counsel to the Stalking Horse Bidder; (v) the New York Attorney General

and the California Attorney General; (vi) the Office of the United States Attorney for the District

of Delaware; and (vii) all parties entitled to notice pursuant to Local Rule 9013-1(m). A copy of

the Motion is also available on the Debtors’ case website at http://dm.epiq11.com/twc.

                   14.    Due to the urgency of the relief requested, the Debtors submit that no

other or further notice is necessary.

                                        NO PRIOR REQUEST

                   15.    The Debtors have not made any prior request for the relief sought herein

to this Court or to any other court.




                                                    16
RLF1 18980807v.2
                   Case 18-10601-MFW    Doc 2    Filed 03/19/18    Page 17 of 32



                   WHEREFORE, the Debtors respectfully request entry of the Proposed Order

granting the relief requested herein and such other and further relief as the Court may deem just

and proper.


Dated:       March 19, 2018
             Wilmington, Delaware
                                             /s/ Mark D. Collins
                                            RICHARDS, LAYTON & FINGER, P.A.
                                            Mark D. Collins (No. 2981)
                                            Paul N. Heath (No. 3704)
                                            Zachary I. Shapiro (No. 5103)
                                            Brett M. Haywood (No. 6166)
                                            David T. Queroli (No. 6318)
                                            One Rodney Square
                                            920 North King Street
                                            Wilmington, DE 19801
                                            Telephone: (302) 651-7700
                                            Facsimile: (302) 651-7701

                                            - and -

                                            CRAVATH, SWAINE & MOORE LLP
                                            Paul H. Zumbro
                                            (pro hac vice application pending)
                                            George E. Zobitz
                                            (pro hac vice application pending)
                                            Karin A. DeMasi
                                            (pro hac vice application pending)
                                            Worldwide Plaza
                                            825 Eighth Avenue
                                            New York, NY 10019
                                            Telephone: (212) 474-1000
                                            Facsimile: (212) 474-3700

                                            Proposed Attorneys for the
                                            Debtors and Debtors in Possession




                                                17
RLF1 18980807v.2
                   Case 18-10601-MFW   Doc 2   Filed 03/19/18   Page 18 of 32




                                         Exhibit A

                                       Proposed Order




RLF1 18980807v.2
                   Case 18-10601-MFW   Doc 2   Filed 03/19/18    Page 19 of 32



                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                   x
In re:
                                   :
THE WEINSTEIN COMPANY HOLDINGS LLC :                Chapter 11
                                   :
                                   :                Case No. 18-_____ ( )
                  Debtor.
                                   :
                                   :
Tax I.D. No. XX-XXXXXXX
                                   :
                                   x
                                   x
In re:
                                   :
                                   :                Chapter 11
AVENGING EAGLE SPV, LLC,
                                   :
                                   :                Case No. 18-_____ ( )
                  Debtor.
                                   :
                                   :
Tax I.D. No. XX-XXXXXXX
                                   :
                                   x
                                   x
In re:
                                   :
                                   :                Chapter 11
BRANDED PARTNERS LLC,
                                   :
                                   :                Case No. 18-_____ ( )
                  Debtor.
                                   :
                                   :
Tax I.D. No. XX-XXXXXXX
                                   :
                                   x
                                   x
In re:
                                   :
                                   :                Chapter 11
CHECK HOOK LLC,
                                   :
                                   :                Case No. 18-_____ ( )
                  Debtor.
                                   :
                                   :
Tax I.D. No. XX-XXXXXXX
                                   :
                                   x




RLF1 18980807v.2
                   Case 18-10601-MFW   Doc 2       Filed 03/19/18     Page 20 of 32



                                                     x
In re:
                                                     :
                                                     :   Chapter 11
CTHD 2 LLC,
                                                     :
                                                     :   Case No. 18-_____ ( )
                      Debtor.
                                                     :
                                                     :
Tax I.D. No. XX-XXXXXXX
                                                     :
                                                     x
                                                     x
In re:
                                                     :
                                                     :   Chapter 11
CUES TWC (ASCAP), LLC,
                                                     :
                                                     :   Case No. 18-_____ ( )
                      Debtor.
                                                     :
                                                     :
Tax I.D. No. XX-XXXXXXX
                                                     :
                                                     x
                                                     x
In re:
                                                     :
                                                     :   Chapter 11
CURRENT WAR SPV, LLC,
                                                     :
                                                     :   Case No. 18-_____ ( )
                      Debtor.
                                                     :
                                                     :
Tax I.D. No. XX-XXXXXXX
                                                     :
                                                     x
                                                     x
In re:
                                                     :
                                                     :   Chapter 11
DRT FILMS, LLC,
                                                     :
                                                     :   Case No. 18-_____ ( )
                      Debtor.
                                                     :
                                                     :
Tax I.D. No. XX-XXXXXXX
                                                     :
                                                     x
                                                     x
In re:
                                                     :
                                                     :   Chapter 11
DRT RIGHTS MANAGEMENT LLC,
                                                     :
                                                     :   Case No. 18-_____ ( )
                      Debtor.
                                                     :
                                                     :
Tax I.D. No. XX-XXXXXXX
                                                     :
                                                     x


                                               2
RLF1 18980807v.2
                   Case 18-10601-MFW   Doc 2       Filed 03/19/18     Page 21 of 32



                                                     x
In re:
                                                     :
FFPAD, LLC,                                          :   Chapter 11
                                                     :
                                                     :   Case No. 18-_____ ( )
                      Debtor.
                                                     :
                                                     :
Tax I.D. No. XX-XXXXXXX
                                                     :
                                                     x
                                                     x
In re:
                                                     :
                                                     :   Chapter 11
HRK FILMS, LLC,
                                                     :
                                                     :   Case No. 18-_____ ( )
                      Debtor.
                                                     :
                                                     :
Tax I.D. No. XX-XXXXXXX
                                                     :
                                                     x
                                                     x
In re:
                                                     :
                                                     :   Chapter 11
INDIRECTIONS LLC,
                                                     :
                                                     :   Case No. 18-_____ ( )
                      Debtor.
                                                     :
                                                     :
Tax I.D. No. XX-XXXXXXX
                                                     :
                                                     x
                                                     x
In re:
                                                     :
                                                     :   Chapter 11
INTELIPARTNERS LLC,
                                                     :
                                                     :   Case No. 18-_____ ( )
                      Debtor.
                                                     :
                                                     :
Tax I.D. No. XX-XXXXXXX
                                                     :
                                                     x
                                                     x
In re:
                                                     :
                                                     :   Chapter 11
ISED, LLC,
                                                     :
                                                     :   Case No. 18-_____ ( )
                      Debtor.
                                                     :
                                                     :
Tax I.D. No. XX-XXXXXXX
                                                     :
                                                     x


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RLF1 18980807v.2
                   Case 18-10601-MFW   Doc 2       Filed 03/19/18     Page 22 of 32



                                                     x
In re:
                                                     :
MARCOTWO, LLC,                                       :   Chapter 11
                                                     :
                                                     :   Case No. 18-_____ ( )
                      Debtor.
                                                     :
                                                     :
Tax I.D. No. XX-XXXXXXX
                                                     :
                                                     x
                                                     x
In re:
                                                     :
                                                     :   Chapter 11
ONE CHANCE LLC,
                                                     :
                                                     :   Case No. 18-_____ ( )
                      Debtor.
                                                     :
                                                     :
Tax I.D. No. XX-XXXXXXX
                                                     :
                                                     x
                                                     x
In re:
                                                     :
                                                     :   Chapter 11
PA ENTITY 2017, LLC,
                                                     :
                                                     :   Case No. 18-_____ ( )
                      Debtor.
                                                     :
                                                     :
Tax I.D. No. XX-XXXXXXX
                                                     :
                                                     x
                                                     x
In re:
                                                     :
                                                     :   Chapter 11
PADDINGTON 2, LLC,
                                                     :
                                                     :   Case No. 18-_____ ( )
                      Debtor.
                                                     :
                                                     :
Tax I.D. No. XX-XXXXXXX
                                                     :
                                                     x
                                                     x
In re:
                                                     :
                                                     :   Chapter 11
PS POST LLC,
                                                     :
                                                     :   Case No. 18-_____ ( )
                      Debtor.
                                                     :
                                                     :
Tax I.D. No. XX-XXXXXXX
                                                     :
                                                     x


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RLF1 18980807v.2
                   Case 18-10601-MFW   Doc 2       Filed 03/19/18     Page 23 of 32



                                                     x
In re:
                                                     :
                                                     :   Chapter 11
SCREAM 2 TC BORROWER, LLC,
                                                     :
                                                     :   Case No. 18-_____ ( )
                      Debtor.
                                                     :
                                                     :
Tax I.D. No. XX-XXXXXXX
                                                     :
                                                     x
                                                     x
In re:
                                                     :
                                                     :   Chapter 11
SMALL SCREEN PRODUCTIONS LLC,
                                                     :
                                                     :   Case No. 18-_____ ( )
                      Debtor.
                                                     :
                                                     :
Tax I.D. No. XX-XXXXXXX
                                                     :
                                                     x
                                                     x
In re:
                                                     :
                                                     :   Chapter 11
SMALL SCREEN TRADES LLC,
                                                     :
                                                     :   Case No. 18-_____ ( )
                      Debtor.
                                                     :
                                                     :
Tax I.D. No. XX-XXXXXXX
                                                     :
                                                     x
                                                     x
In re:
                                                     :
                                                     :   Chapter 11
SPY KIDS TV BORROWER, LLC,
                                                     :
                                                     :   Case No. 18-_____ ( )
                      Debtor.
                                                     :
                                                     :
Tax I.D. No. XX-XXXXXXX
                                                     :
                                                     x
                                                     x
In re:
                                                     :
                                                     :   Chapter 11
TEAM PLAYERS LLC,
                                                     :
                                                     :   Case No. 18-_____ ( )
                      Debtor.
                                                     :
                                                     :
Tax I.D. No. XX-XXXXXXX
                                                     :
                                                     x


                                               5
RLF1 18980807v.2
                   Case 18-10601-MFW   Doc 2       Filed 03/19/18     Page 24 of 32



                                                     x
In re:
                                                     :
THE ACTORS GROUP LLC,                                :   Chapter 11
                                                     :
                                                     :   Case No. 18-_____ ( )
                      Debtor.
                                                     :
                                                     :
Tax I.D. No. XX-XXXXXXX
                                                     :
                                                     x
                                                     x
In re:
                                                     :
                                                     :   Chapter 11
THE GIVER SPV, LLC,
                                                     :
                                                     :   Case No. 18-_____ ( )
                      Debtor.
                                                     :
                                                     :
Tax I.D. No. XX-XXXXXXX
                                                     :
                                                     x
                                                     x
In re:
                                                     :
                                                     :   Chapter 11
THE WEINSTEIN COMPANY LLC,
                                                     :
                                                     :   Case No. 18-_____ ( )
                      Debtor.
                                                     :
                                                     :
Tax I.D. No. XX-XXXXXXX
                                                     :
                                                     x
                                                     x
In re:
                                                     :
                                                     :   Chapter 11
TULIP FEVER LLC,
                                                     :
                                                     :   Case No. 18-_____ ( )
                      Debtor.
                                                     :
                                                     :
Tax I.D. No. XX-XXXXXXX
                                                     :
                                                     x
                                                     x
In re:
                                                     :
                                                     :   Chapter 11
TWC BORROWER 2016, LLC,
                                                     :
                                                     :   Case No. 18-_____ ( )
                      Debtor.
                                                     :
                                                     :
Tax I.D. No. XX-XXXXXXX
                                                     :
                                                     x


                                               6
RLF1 18980807v.2
                   Case 18-10601-MFW   Doc 2       Filed 03/19/18     Page 25 of 32



                                                     x
In re:
                                                     :
TWC DOMESTIC LLC,                                    :   Chapter 11
                                                     :
                                                     :   Case No. 18-_____ ( )
                      Debtor.
                                                     :
                                                     :
Tax I.D. No. XX-XXXXXXX
                                                     :
                                                     x
                                                     x
In re:
                                                     :
                                                     :   Chapter 11
TWC FEARLESS BORROWER, LLC,
                                                     :
                                                     :   Case No. 18-_____ ( )
                      Debtor.
                                                     :
                                                     :
Tax I.D. No. XX-XXXXXXX
                                                     :
                                                     x
                                                     x
In re:
                                                     :
                                                     :   Chapter 11
TWC LIBRARY SONGS (BMI), LLC,
                                                     :
                                                     :   Case No. 18-_____ ( )
                      Debtor.
                                                     :
                                                     :
Tax I.D. No. XX-XXXXXXX
                                                     :
                                                     x
                                                     x
In re:
                                                     :
                                                     :   Chapter 11
TWC LOOP LLC,
                                                     :
                                                     :   Case No. 18-_____ ( )
                      Debtor.
                                                     :
                                                     :
Tax I.D. No. XX-XXXXXXX
                                                     :
                                                     x
                                                     x
In re:
                                                     :
                                                     :   Chapter 11
TWC MIST, LLC,
                                                     :
                                                     :   Case No. 18-_____ ( )
    Debtor.
                                                     :
                                                     :
Tax I.D. No. XX-XXXXXXX
                                                     :
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RLF1 18980807v.2
                   Case 18-10601-MFW   Doc 2       Filed 03/19/18     Page 26 of 32



                                                     x
In re:
                                                     :
                                                     :   Chapter 11
TWC POLAROID SPV, LLC,
                                                     :
                                                     :   Case No. 18-_____ ( )
                      Debtor.
                                                     :
                                                     :
Tax I.D. No. XX-XXXXXXX
                                                     :
                                                     x
                                                     x
In re:
                                                     :
                                                     :   Chapter 11
TWC PRODUCTION-ACQUISITION
                                                     :
BORROWER 2016, LLC,
                                                     :   Case No. 18-_____ ( )
                      Debtor.                        :
                                                     :
                                                     :
Tax I.D. No. XX-XXXXXXX
                                                     x
                                                     x
In re:
                                                     :
                                                     :   Chapter 11
TWC PRODUCTION, LLC,
                                                     :
                                                     :   Case No. 18-_____ ( )
                      Debtor.
                                                     :
                                                     :
Tax I.D. No. XX-XXXXXXX
                                                     :
                                                     x
                                                     x
In re:
                                                     :
                                                     :   Chapter 11
TWC REPLENISH BORROWER, LLC,
                                                     :
                                                     :   Case No. 18-_____ ( )
                      Debtor.
                                                     :
                                                     :
Tax I.D. No. XX-XXXXXXX
                                                     :
                                                     x
                                                     x
In re:
                                                     :
                                                     :   Chapter 11
TWC SHORT FILMS, LLC,
                                                     :
                                                     :   Case No. 18-_____ ( )
                      Debtor.
                                                     :
                                                     :
Tax I.D. No. XX-XXXXXXX
                                                     :
                                                     x


                                               8
RLF1 18980807v.2
                   Case 18-10601-MFW   Doc 2       Filed 03/19/18     Page 27 of 32



                                                     x
In re:
                                                     :
TWC UNTOUCHABLE SPV, LLC,                            :   Chapter 11
                                                     :
                                                     :   Case No. 18-_____ ( )
                      Debtor.
                                                     :
                                                     :
Tax I.D. No. XX-XXXXXXX
                                                     :
                                                     x
                                                     x
In re:
                                                     :
                                                     :   Chapter 11
TWC WACO SPV, LLC,
                                                     :
                                                     :   Case No. 18-_____ ( )
                      Debtor.
                                                     :
                                                     :
Tax I.D. No. XX-XXXXXXX
                                                     :
                                                     x
                                                     x
In re:
                                                     :
                                                     :   Chapter 11
TWENTY O FIVE HOLDINGS, LLC,
                                                     :
                                                     :   Case No. 18-_____ ( )
                      Debtor.
                                                     :
                                                     :
Tax I.D. No. XX-XXXXXXX
                                                     :
                                                     x
                                                     x
In re:
                                                     :
                                                     :   Chapter 11
W ACQUISITION COMPANY LLC,
                                                     :
                                                     :   Case No. 18-_____ ( )
                      Debtor.
                                                     :
                                                     :
Tax I.D. No. XX-XXXXXXX
                                                     :
                                                     x
                                                     x
In re:
                                                     :
                                                     :   Chapter 11
WC FILM COMPLETIONS, LLC,
                                                     :
                                                     :   Case No. 18-_____ ( )
                      Debtor.
                                                     :
                                                     :
Tax I.D. No. XX-XXXXXXX
                                                     :
                                                     x


                                               9
RLF1 18980807v.2
                   Case 18-10601-MFW   Doc 2    Filed 03/19/18       Page 28 of 32



                                                    x
In re:
                                                    :
WEINSTEIN BOOKS, LLC,                               :   Chapter 11
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x
                                                    x
In re:
                                                    :
                                                    :   Chapter 11
WEINSTEIN DEVELOPMENT LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x
                                                    x
In re:
                                                    :
                                                    :   Chapter 11
WEINSTEIN GLOBAL FUNDING CORP.,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x
                                                    x
In re:
                                                    :
                                                    :   Chapter 11
WEINSTEIN GLOBAL FILM CORP.,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x
                                                    x
In re:
                                                    :
                                                    :   Chapter 11
WEINSTEIN PRODUCTIONS LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x


                                               10
RLF1 18980807v.2
                   Case 18-10601-MFW   Doc 2    Filed 03/19/18       Page 29 of 32



                                                    x
In re:
                                                    :
WEINSTEIN TELEVISION LLC,                           :   Chapter 11
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x
                                                    x
In re:
                                                    :
                                                    :   Chapter 11
WTV GUANTANAMO SPV, LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
No Tax I.D. No.
                                                    :
                                                    x
                                                    x
In re:
                                                    :
                                                    :   Chapter 11
WTV JCP BORROWER 2017, LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x
                                                    x
In re:
                                                    :
                                                    :   Chapter 11
WTV KALIEF BROWDER BORROWER, LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x
                                                    x
In re:
                                                    :
                                                    :   Chapter 11
WTV SCREAM 3 SPV, LLC,
                                                    :
                                                    :   Case No. 18-_____ ( )
                      Debtor.
                                                    :
                                                    :
Tax I.D. No. XX-XXXXXXX
                                                    :
                                                    x


                                               11
RLF1 18980807v.2
                   Case 18-10601-MFW              Doc 2      Filed 03/19/18        Page 30 of 32



                                                                x
In re:
                                                                :
WTV YELLOWSTONE SPV, LLC,                                       : Chapter 11
                                                                :
                                                                : Case No. 18-_____ ( )
                         Debtor.
                                                                :
                                                                : Re: Docket No. __
Tax I.D. No. XX-XXXXXXX
                                                                :
                                                                x

                               ORDER DIRECTING JOINT
                   ADMINISTRATION OF THE DEBTORS’ CHAPTER 11 CASES

                    Upon the motion (the “Motion”)1 of the Debtors for entry of an order

(this ”Order”) directing the Debtors’ chapter 11 cases to be jointly administered for procedural

purposes only and granting related relief, as more fully set forth in the Motion; and due and

sufficient notice of the Motion having been provided under the particular circumstances, and it

appearing that no other or further notice need be provided; and the Court having jurisdiction to

consider the Motion and the relief requested therein in accordance with 28 U.S.C. §§ 157 and

1334; and consideration of the Motion and the relief requested therein being a core proceeding

under 28 U.S.C. § 157(b); and venue being proper before this Court under 28 U.S.C. §§ 1408

and 1409; and a hearing having been held to consider the relief requested in the Motion (the

“Hearing”); and upon the First Day Declaration, the record of the Hearing; and the Court having

found and determined such relief is in the best interests of the Debtors, their estate and creditors,

and any parties in interest; and that the legal and factual bases set forth in the Motion and at the

Hearing establish just cause for the relief granted herein; and after due deliberation and sufficient

cause appearing therefor; and after due deliberation thereon and sufficient cause appearing

therefor, it is HEREBY ORDERED THAT:

                    1.       The Motion is granted as set forth herein.

1
    Capitalized terms used but not defined in this Order have the meanings used in the Motion.
                                                          12
RLF1 18980807v.2
                   Case 18-10601-MFW         Doc 2    Filed 03/19/18     Page 31 of 32



                   2.      Each of the above-captioned chapter 11 cases of the Debtors are

consolidated for procedural purposes only and shall be jointly administered by the Court under

Case No. 18-______ ( ).

                   3.      Nothing contained in the Motion or this Order shall be deemed or

construed as directing or otherwise effecting a substantive consolidation of these chapter 11

cases.

                   4.      The caption of the jointly administered cases shall read as follows:

                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                          x
In re:
                                                          :
                                                          : Chapter 11
THE WEINSTEIN COMPANY HOLDINGS
                                                          :
LLC, et al.
                                                          : Case No. 18-_____ ( )
                                                          :
                        Debtors.[Fn]
                                                          :
                                                          :
                                                          x

                   5.      All pleadings and notices shall be captioned as indicated in the preceding

paragraph, and all original docket entries shall be made in the case of The Weinstein Company

Holdings LLC, Case No. 18-_____ ( ).

                   6.      A docket entry shall be made in each of the Debtors’ cases (except that of

The Weinstein Company Holdings LLC) substantially similar to the following:

                   An order has been entered in this case consolidating this case with the
                   case of The Weinstein Company Holdings LLC (Case No. 18-_____ (
                   )) for procedural purposes only and providing for its joint
                   administration in accordance with the terms thereof. The docket in
                   Case No. 18-_____ ( ) should be consulted for all matters affecting
                   this case.




                                                     13
RLF1 18980807v.2
                   Case 18-10601-MFW        Doc 2    Filed 03/19/18     Page 32 of 32



                   7.     The Debtors are directed to include the following footnote to each

pleading they file and notice they mail in these cases, listing the last four digits of The Weinstein

Company Holdings LLC’s tax identification number, along with its mailing address, and

directing parties in interest to the website of the Debtors claims and noticing agent where the last

four digits of the remaining Debtors’ tax identification numbers and mailing addresses can be

located:

                   The last four digits of The Weinstein Company Holdings LLC’s
                   federal tax identification number are (3837). The mailing address for
                   The Weinstein Company Holdings LLC is 99 Hudson Street, 4th
                   Floor, New York, New York 10013. Due to the large number of
                   debtors in these cases, which are being jointly administered for
                   procedural purposes only, a complete list of the Debtors and the last
                   four digits of their federal tax identification numbers is not provided
                   herein. A complete list of this information may be obtained on the
                   website of the Debtors claims and noticing agent at
                   http://dm.epiq11.com/twc.

                   8.     The Debtors are authorized and empowered to take all actions necessary

or appropriate to implement the relief granted in this Order.

                   9.     This Court shall retain jurisdiction over all matters arising from or related

to the implementation or interpretation of this Order.


Dated:       _____________, 2018
             Wilmington, Delaware
                                         ________________________________________________
                                         UNITED STATES BANKRUPTCY JUDGE




                                                    14
RLF1 18980807v.2
